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Attorneys for Plaintiffs


                                   IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF THE STATE OF IDAHO
                                                          EASTERN DIVISION


 ESTATE OF MICHAEL MURPHY,         by                                       CASE NO.
 and through Rose Murphy as Personal
 Representative; ROSE MURPHY;
 CHARITY WILEY; DERRICK                                                     COMPLAINT
 MURPHY; and MANDY COUCH;


       Plaintiffs;


 vs.




 UNITED STATES OF AMERICA;


       Defendant.



          COME NOW the plaintiffs, through counsel, and allege the following:




COMPLAINT
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                                                         TurisdictionNenue


                                                                         I.


        Plaintiff Estate of Michael Murphy is an open probate in Madison County, Idaho,

Case No. CV-2015- 747. Plaintiff Rose Murphy has been appointed by the court as the

personal representative of the estate.


                                                                        II.


        Plaintiff, Rose Murphy, is the widow of Mike Murphy, deceased, is a resident of the

State of Idaho and primarily resides in Madison County.

                                                                        III.


        Plaintiff, Charity Wiley, is a surviving daughter of Mike Murphy, deceased, is a

resident of the State of Idaho and primarily resides in Madison County.

                                                                        IV.


        Plaintiff, Derrick Murphy, is a surviving son of Mike Murphy, deceased, is a resident

of the State of Illinois and primarily resides in Cook County.

                                                                        V.


        Plaintiff, Mandy Couch, is a surviving daughter of Mike Murphy, deceased, is a

resident of the State of Idaho and primarily resides in Madison County.

                                                                        VI.


        Defendant United States of America (" U. S.")                          is a government entity which has

authorized suit pursuant               to the Federal Tort Claims Act (" FTCA"), 28 U.S. C. A. §§ 2671-



2680. The applicable agency to which Plaintiffs have filed a Tort Claim pursuant to the


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FTCA is the Department                        of   Veteran Affairs (" D.V. A.").   Plaintiffs submitted their Tort


Claim to D.V.A. on or about May 19, 2016. D.V.A. has denied Plaintiffs claim. Suit against

the U.S. is, therefore, allowed pursuant to the FTCA. Jurisdiction in this court exists because


U.S. is a party Defendant pursuant to 28 U.S. C.A. §1346( b)( 1).

                                                                        VII.


          Venue exists in the Eastern Division of the District of Idaho because the cause of


action accrued in Idaho and involves a doctor employed by U. S. to provide medical services

at a D. V.A. clinic in Pocatello, Idaho.


                                                              COUNT ONE:


                                                                        VIII.


          Based upon information and belief, Mark Butler, M. D. (" Dr. Butler") was employed


by the D.V.A. to provide medical services at the D.V.A. clinic in Pocatello, Idaho. Dr. Butler

was the medical provider overseeing Michael Murphy(" Mike") treatment at the D.V.A. on

May 20, 2014 and thereafter.

                                                                        IX.


          Mike sought medical care at the D.V.A. clinic in Pocatello, Idaho on or about May 20,

2014. At this visit Mike complained of food/ pills sticking in the lower esophagus, pain with

swallowing, and regurgitation. These symptoms had been occurring since the prior January

of 2014. Further, it was noted that Mike had been losing weight.




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                                                                           X.


         In response to Mike' s complaints, Dr. Butler ordered lab tests, instructed Mike to take

medications for GERD, and indicated he wanted Mike to have a" pill swallow and bariaum


study, refer then to EGD." Dr. Butler sent a consult request on May 20, 2014 for this study.

When Dr. Butler sent the request, he indicated that it should be canceled ifthe physicians at


the Veterans Hospital in Salt Lake City, Utah did not think it was needed as Dr. Butler also

indicated" probably more for GI not speech." The study was not done but was cancelled by

Dr. Charles Krueger of the Veterans Hospital in Salt Lake City.

                                                                           XI.


         Mike continued to contact Dr. Butler about complaints as the medication only


temporarily relieved Mike' s symptoms and/ or they were worsening. On or about April 3,
2015 Dr. Butler again treated Mike at the D.V.A. clinic in Pocatello, Idaho. At this time, Dr.


Butler sought an urgent EGD after seeing Mike in the clinic that day. The EGD study was

obtained on or about April 23, 2015. The pathology report following the EGD revealed that

Mike had esophagial cancer.


                                                                           XII.


         Mike passed away on or about September 8, 2015 from the effect of uncontrolled

esophageal hemorrhage. The hemorrhage was caused when Mike fell and struck his person


against the end of a piece of furniture, likely causing injury to an esophagus weakened from

the effects of cancer and treatment. Medical care given by Defendant was negligent in that

Defendant failed to appropriately diagnose and treat Mike Murphy in a timely fashion. This


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negligence was a substantial contributing factor to the deterioration of Mike' s esophagus, its

injury, subsequent hemorrhage, and Mike' s ultimate death.

                                                                             XIII.


         Plaintiff Estate of Michael Murphy (" Estate") has suffered damages from the

negligence of D.V.A. which include but are not limited to medical expenses, out- of-pocket


expenses, and loss of benefits and earnings during the life of Mike Murphy. These damages

are in excess of$ 25, 000.00 and are permitted pursuant to Idaho Code § 5- 327( 2).


                                                                 COUNT TWO:


                                                                             XIV.


         Plaintiffs replead paragraphs VIII—XIII as if fully set forth herein.

                                                                             XV.


         Plaintiffs Rose Murphy, the surviving widow of Plaintiff Mike Murphy; Plaintiff

Charity Wiley, surviving daughter of decedent Mike Murphy; Plaintiff Derrick Murphy,

surviving son of decedent Mike Murphy; and Plaintiff Mandy Couch, surviving daughter of

decedent Mike Murphy, have all suffered damages which include but are not limited to the

loss of society, care, comfort, and companionship of decedent Mike Murphy. Additionally,

Plaintiff Rose Murphy as the surviving spouse of decedent, Mike Murphy, has suffered

damages including the loss of consortium, loss of household services, and loss of

wages/ income attributable to the death of her husband, Mike Murphy. These damages are

in excess of$ 1, 000, 000. 00 and are permitted pursuant to Idaho Code § 5- 311.




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                                                                   XVI.


          Plaintiffs and each of them have complied with all conditions precedent to the


bringing of this suit in Federal District Court pursuant to applicable law and the Federal Tort

Claims Act.


                                          ATTORNEY FEES AND COSTS


                                                                   XVII.


          Plaintiffs have been required to obtain the services of counsel to represent them in this


matter and, upon prevailing, are entitled to an award of attorneys' s fees and costs.

          WHEREFORE, Plaintiffs pray for judgment as follows:

          1)          Judgment against Defendant in the amount of such sum as may be proven at

                     trial and found just as sustained by all Plaintiffs; and

          2)         Interest, costs, and attorney' s fees reasonably and necessarily incurred by

                     Plaintiffs.




          DATED this           2y day        of    }<                     2017.



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                                                                           Breck Barton




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